                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Charjde Nicole Hunter,        )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:21-cv-00258-FDW-DSC
                                      )
                 vs.                  )
                                      )
     Amazon.com Services, LLC,        )
          Defendant(s).               )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 12, 2021 Order.

                                               November 12, 2021




     Case 3:21-cv-00258-FDW-DSC Document 27 Filed 11/12/21 Page 1 of 1
